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MIDDLE DISTRICT OF NORTH CAROLINA

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HadinS. Pose : vor nn

VERSUS MEDIATOR ae

 

Name of Defendant(s):

| Yr: we asie ype s {For Placement on the
ek !

CMYECF Docket;
_Madiatar Marne: WAY We Paetes
| Telephone ha: ZON§ “Ul —A

1 E-fMail fudde esas

 

 

  
 

 

 

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1. Convening of Mediation. The mediated settlement conference ordered in this case:

was held an December 4, 2022 {date}

(1 was NOT held because

 

2. Attendance

 

No Ohiectinn wer wade wn theervards hp vetoed wtenhee Was absent.
qq Objection was made by
3. Outcome

_ Complete settlement of the case

Cl Conditional settlement or other disposition

Ol Partial settlement of the case

OC) Recess lie., mediation to be resumed at a later date}
impasse

L] Additional Information: ———

4. Settlement Filings

a} The document(s) to be filed to effort the settlement are

 

 

b) The person responsible for tiling the document(s) is
cl} The agreed deadline for filing the document(s) is
Submission of Report. Please submit the completed and signed raport by mail of Clerk of Court, 324
W. Market St., Greensboro, NC 27401, or, if Consent to Transfer Documents Electronically Form has
been submitted, submit the signed to medclerk@ncmd.uscourts. pov.

 

 

| have submitted this completed report with ten (10) days after conclusion of the conferenca.

WH ue? teckel iz\14 lew

Mediator Signature Date

Case 1:22-cv-00478-WO-JEP Document 32 Filed 01/04/23 Page 1 of 1

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Wee This 4 an Interim Report, final report is CLERK U.S. DISTRICT COURT
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RO, N.C,
